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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

' PAUL HARRIS, |

Ve Honorable Terrence G. Berg
United States District Court Judge

MARY GREINER, in her official
and personal capacities,

Defendant.

 

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FIRST AMENDED VERIFIED CIVIL RIGHTS COMPLAINT PURSUANT TO
TITLE 42, U.S.C. § 1983

 

Plaintiff,
Case No. 2:20-CV-10065
There is no other civil action between the parties
that arises out of the same transactions or
occurrences as those alleged in this Complaint.
COMES NOW plaintiff Paul Harris ("Plaintiff"), pursuant |to
Title 42, U.S.C. § 1983, seeking redress for the violations |of
this federal constitutional rights by the above-named defendant,
and in support therefor states and depose under oath and penalty
of perjury pursuant to Title 28 U.S.C. § 1746(2), to wit:

1. Plaintiff is of sound mind and majority age, and that

 

the allegations forming the basis of this Complaint are true and
correct based upon Plaintiff's direct and personal knowledge and

involvement in the matters attested to herein, and Plaintiff is

competent to testify to same; !

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II. Certification

2. Plaintiff hereby certifies pursuant to Fed.R.Civ.P. 17

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that this Complaint is not being interposed for any improger

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purpose, that the relief sought is supported by existing federal
law, that the herein allegations have sufficient evidentiary
support, and that this Complaint complies with the requirements
of Rule 11;

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III. Number of previously-filed civil actions |

3. Plaintiff has previously filed ZERO civil actions;

IV. Jurisdiction and Venve |

4. The United States District Court for the Eastern District
of Michigan is vested with subject-matter jurisdiction over this
matter pursuant to Title 28, U.S.C. §§ 1331 & 1367;

5. The United States District Court for the Eastern District
of Michigan is the proper venue for this action pursuant to BJD.
Mich. LR 83.10(a)(10) and E.D. Mich. LR 83.10(b)(3) & (4);

V. Short and Plain Statement of the Claims

6. As required by Fed.R.Civ.P. 8(a), the Short and Plain
Statement of the claims urged in this Complaint is as follows:

Defendant was deliberately indifferent to Plaintiff's |
serious medical condition under the Eighth Amendment
when she terminated all courses of
treatment/management of Plaintiff's chronic pain
and thereafter directed him to engage in the futile
pursuit of purchasing his own pain medications and
medically~-assistive devices thereby causing Plaintiff
needlessly suffering excruciating pain.

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VII. Statement of Facts
8. The operative facts of this civil action are, as follows:

Ae In the aftermath of a severe automobile accident
in the late 1990s, Plaintiff underwent bilateral
total knee replacement;

b. At all times relevant to this Complaint,
Plaintiff, a state prisoner, was confined at the
Gus Harrison Correctional Facility ("ARF") located
in Adrian, Michigan;

 

 
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ce. At all times relevant to this Complaint,
defendant Mary Greiner ("Defendant"), was a medical
doctor employed by Corizon Health, Inc., the health
management organization under contract with the
State of Michigan to provide medical care for
Michigan prisoners;

ad. During a medical appointment with Defendant
on July 3, 2019, Plaintiff informed her that he
was suffering severe pain in his arms, shoulders,
and knees, that the pain medication that had been
prescribed to him for the preceding three years,
i.e., Naprosyn, 500 mg tablets (under the generic
brand name, "Naproxen"), was no longer effective
in alleviating his pain;

e. Prior to the time that Plaintiff was prescribed |
Naprosyn, he had been prescribed the drug Altram,
however, his medical provider switched him to
Naprosyn; |
f. During the above-described medical appointment,
Plaintiff also discussed with Defendant his need

for knee braces, a medical assistive device for
which he had been approved for;

ge Rather than adjust or substitute Plaintiff's
prescribed pain medication, Defendant became
indignant toward him and told him that she was
terminating his pain medication altogether, that |
he would have to resort to over-the-counter
medications available through the prison commissary,

and that he would have to purchase his knee braces
through an “approved vendor";

 

h. Defendant thereafter failed to provide Plaintiff
with any further treatment for his excruciating
pain and did not recommend him to the "Pain
Management Committee" for a further assessment of
treatment/management for his chronic pain;

i. Plaintiff languished in severe pain from July

2019 until December 2019, when a different medical |
provider prescribed him Diclofenac Sodium in 50

mg tablets for his chronic pain;

je On January 26, 2021, Plaintiff submitted a Health
Care request wherein he complained that the
Diclofenac Sodium medication "is not longer helping"
his pain;
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k. On January 27, 2021, registered nurse Mary

Velarde responded to Plaintiff's request by directing |

him to “[plurchase alternative meds from the prisoner

store,.";

VIII. Causes of Action
9. A prisoner who needlessly suffers pain when relief jis

readily available has a cause of action against the vcaponsias
medical doctor under the Eighth Amendment;

10. An Eighth Amendment medical needs claim can be established
by a showing that a doctor failed to adjust or substitute pain
medication or where the doctor abandons a patient by discontinuing
all course of pain treatment/management;

11. The needless suffering of pain is sufficient to constitute
cruel and unusual punishment for purposes of the Eighth Amendment;

12. Defendant acted with a sufficiently culpable mind by
disregarding Plaintiff's serious medical condition and terminating
all treatment of his chronic pain;

IX. Count I--Violation of the Eighth Amendment |

13. Plaintiff hereby realleges and incorporates by reference
the preceding paragraphs; |

14. As a prisoner, Plaintiff retains the essence of human
dignity that is inherent in all persons, and respect for that

dignity animates the prohibition against the wanton and mrmesees

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infliction of pain by a prison medical provider under the Cr
and Unusual Punishment Clause of the Eighth Amendment;

15. As Plaintiff's medical provider, Defendant knew that
he was suffering from severe and intractable pain;

16. As Plaintiff's medical provider, Defendant had a duty

to provide him with adequate treatment for his chronic pain;

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17. As Plaintiff's medical provider, Defendant knew that
the types of over-the-counter medications available to Plaintiff
through the prison commissary, i.e., Aspirin, 325 mg, Tylenol,
325 mg, Ibuprofen, and Naproxen 200 mg, would not suffice as|a
palliative for Plaintiff's chronic pain;

18. As Plaintiff's medical provider, Defendant knew that
MDOC policy prohibited Plaintiff from purchasing knee braces from

any vendor;

 

19. As a medical doctor, Defendant knew that a failure ‘to
adjust Plaintiff's pain medication and abandoning all forms of
pain treatment/management would result in Plaintiff's continuing
suffering chronic pain;

20. As a medical doctor, Defendant knew that directing
Plaintitf to purchase his own medically-necessary assistive
devices, i.e., knee braces from an outside vendor would be a futile
endeavor and would cause him to continue to suffer unnecessary
pain;

21. Accordingly, Plaintiff hereby asserts a claim against

 

Defendant under the Eighth Amendment;
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X. Relief Requested

WHEREFORE, plaintiff Paul Harris seek the following forms
of relief: .

a. A monetary judgment in the amount of $150,000.00
for Count I as compensatory damages;

b. A monetary judgment in the amount of $150,000.00
for Count I as punitive damages;

ce. Injunctive relief in the form of Defendant being
enjoined to ensure that Plaintiff received adequate
treatment for his pain and its underlying etiologies,
and;

 

ad. Award of all costs incurred with the prosecution
of this action. |

Respectfully submitted,

C0 kha

Paul Harris, #330310

Gus Harrison Correctional Facility
2727 East Beecher Street

Adrian, Michigan 49221-3506

 
 

 

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